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              EXHIBIT C



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SEYFARTH
      SHAW                                                                                                     Seyfarth Shaw LLP

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                                                  November 17, 2017                                                                  z



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VIA E-MAIL                                                                                                                           S
AND FEDEX OVERNIGHT DELIVERY                                                                                                         5
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Colin Hadden                                                                                                                         t/>
12018 Sail Place Drive
Indianapolis, Indiana 46256                                                                                                          O
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colin@elinshouse.co.uk                                                                                                               ■: I
                                                                                                                                     £
                                                                                                                                     a
            Re:         Obligations Owed to IGT Indiana, LLC.                                                                        ft

Dear Mr. Hadden:                                                                                                                     £O
                                                                                                                                     >
        This law firm serves as litigation counsel for IGT Indiana, LLC (formerly known as GTECH                                     s
                                                                                                                                     2

Indiana, LLC) (“IGT”). We write to you on behalf of IGT so that you may avoid costly litigation
                                                                                                                                     LU
which may be initiated shortly to enforce IGT’s rights regarding the Restrictive Agreement you                                       x
                                                                                                                                     li

entered into with IGT on March 12, 2014 (the “Agreement”), a copy of which is enclosed. IGT has                                      £_i
recently learned that you improperly took employment with Camelot Illinois LLC (“Camelof’) for a                                     i±i
                                                                                                                                     :•
position substantially identical to the position that you held with IGT.
                                                                                                                                     lit
                                                                                                                                      _1
       Your contractual obligations with IGT prohibit you for a period of 18 months (until on or                                     IU
                                                                                                                                     z
around May 2, 2019) from directly or indirectly competing against IGT in a position that is                                          g
reasonably related to any activity you engaged in while you were employed with IGT. Given the                                        _l


nature of IGT’s business, your restrictions apply anywhere in which IGT is then doing or pursuing
business. You are also prohibited, for a period of three years, from interfering with IGT’s                                          O
                                                                                                                                     _
                                                                                                                                     2
employees, dealers, customers, suppliers, or other business associates. Additionally, you are                                        :•
prohibited from utilizing or disclosing IGT’s confidential information and were required upon your                                   x
resignation to return all IGT property to IGT, including any IGT confidential information.                                           o
                                                                                                                                     m
                                                                                                                                     o
                                                                                                                                     r
        IGT has learned that you have been hired by Camelot to serve as General Manager in charge
of providing services to the Illinois Lottery, a role substantively identical to the role you held with                              0
IGT in Indiana. This is a direct violation of your Agreement. Given that Camelot has had no                                          <
                                                                                                                                     9
                                                                                                                                     X
business presence in this space in the United States prior to winning the Illinois contract, IGT is
concerned that you will be required to utilize IGT’s confidential and proprietary information in this
                                                                                                                                     2
position and improperly compete against IGT in other states or jurisdictions that currently have its
lottery privately run or that are opting or considering to privatize their lottery. We have further                                  g

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                                                                                      Colin Hadden
SEYFARTH                                                                          November 17, 2017
       SHAW,
ATTORNEYS
                                                                                             Page 2


 learned that you have continued to reach out to IGT’s employees and representatives of the Indiana
 lottery, communications of which we are also highly concerned.

          Your actions directly violate your contractual obligations, as well as statutes and common
 law, which prohibit the use of trade secrets, unfair competition, tortious interference, and breaches
 of restrictive covenant agreements. IGT has spent considerable time and resources developing its
 client relationships, goodwill, intellectual capital, and confidential information. As one of many
 examples, you directly participated in the development process of IGT’s business plans submitted
 annually to the Hoosier Lottery, the process of which IGT maintains as highly proprietary and
 which would unfairly benefit any IGT competitor, including Camelot. This strategic and proprietary       i
 information can easily be co-opted and used by Camelot, both in Illinois and in other privately run
 lottery jurisdictions. IGT will not allow its intellectual capital or customers to be jeopardized and
 will not allow the value of its proprietary information to be diminished.

        IGT will enforce its rights under your Agreement against you and anyone acting in concert
 with you, including Camelot, if such action is necessary. Should IGT succeed on the merits of its
 case, you may be responsible for attorney's fees and damages incurred as a result of violations of
 your agreement and your tortious conduct.

         Should you and Camelot wish to resolve this matter amicably, IGT demands that, by no later
 than November 27, 2017, you: (1) provide an explanation of your job responsibilities with Camelot
 and how your employment does not breach your Agreement; (2) provide an explanation of your
 contacts and continued communications with IGT’s employees and the Indiana lottery following
 your resignation of your IGT employment, including the substance and reason for those
 communications; (3) cease all uses and disclosures of IGT’s confidential and trade secret
 information; (4) cease any improper solicitations of IGT’s employees or customers; (5) return all
 IGT property, including confidential information in both hard and electronic format, in your
 possession; and (6) provide IGT with a sworn statement as to the following items: (a) an accounting
 of each IGT actual and potential customers you contacted since joining Camelot; and (b) an
 accounting of all confidential IGT information in your possession, including, but not limited to,
 where that information is stored, how it has been used, and whether this information is currently
 residing on any Camelot or other IGT competitor’s computer system. Moreover, Camelot must also
 immediately: (1) cease all uses and disclosures of IGT’s confidential information; (2) return to IGT
 all IGT property in Camelot’s possession, including confidential information in both hard and
 electronic format; and (3) prohibit you from improperly competing against IGT until after May 2,
 2019.

         Should you fail to comply with IGT’s requests, IGT will pursue all legal action available to
 it. IGT sends this letter without waiving any of its rights to pursue legal action and collect damages
 from you and/or Camelot.

          Because IGT is in a dispute with you, and possibly your new employer, that may result in
 litigation, you and Camelot are directed to ensure that all documents, records, evidence, electronic
 data, and metadata related to these issues are preserved and are not altered, destroyed, or
 compromised in any way whether in hard copy or an electronic format.


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                                                                                   Colin Hadden
SEYFARTH                                                                       November 17, 2017
       SHAW,
ATTORNEYS                                                                                 Page 3


         Should you have any questions regarding your obligations, you or your attorney may contact
 me at (312) 460-5957.

                                              Very truly yours,

                                              SEYFARTH SHAW LLP



                                              Justin K. Beyer

 JKB
 Enclosures
 cc:    Michael D. Wexler (w/enclosures)
        Georgette Pan, Assistant General Counsel, IGT (w/enclosures)
        Neil Brocklehurst, Camelot (w/enclosures)




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